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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA


In re:                                                                         § Case No. 00-18-32541
         Anthony Thomas Little Jr.                                             §
                                                                               §
                        Debtor(s)                                              §

         CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Suzanne E. Wade, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 05/14/2018.

         2) The plan was confirmed on 08/02/2018.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
12/13/2018, 02/24/2021.

         4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.

         5) The case was completed on 04/23/2021.

         6) Number of months from filing or conversion to last payment: 35.

         7) Number of months case was pending: 38.

         8) Total value of assets abandoned by court order:              NA.

         9) Total value of assets exempted:         $5,862.74.

         10) Amount of unsecured claims discharged without full payment:            $15,726.95.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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   Receipts:
         Total paid by or on behalf of the debtor       $         8,340.00
         Less amount refunded to debtor                 $             0.00
   NET RECEIPTS:                                                                              $        8,340.00



   Expenses of Administration:

           Attorney's Fees Paid Through the Plan                             $     5,213.00
           Court Costs                                                       $         0.00
           Trustee Expenses & Compensation                                   $       624.26
           Other                                                             $         0.00

   TOTAL EXPENSES OF ADMINISTRATION:                                                 $      5,837.26

   Attorney fees paid and disclosed by debtor:          $           10.00



   Scheduled Creditors:
                                                                      Claim       Claim      Claim       Prin.    Int.
               Creditor Name                      Class               Sched.     Asserted   Allowed      Paid     Pd.
JEFFERSON CAPITAL SYSTEMS, LLC          DEBT SECURED BY VEHICLE      14804.25    14804.28   14804.28     720.00   0.00
MCV PHYSICIANS                          Unsecured                        0.00        0.00       0.00       0.00   0.00
RECEIVABLE MANAGEMENT/PATIENT FIRST     Unsecured                      250.00      255.99     255.99      26.06   0.00
PRESTIGE FINANCIAL SERVICES             Unsecured                    12945.00    12967.05   12967.05    1320.24   0.00
AT&T MOBILITY II LLC                    Unsecured                     2100.00     2348.56    2348.56     239.12   0.00
HENRICO DOCTORS HOSPITAL                Unsecured                     1351.00     1351.09    1351.09     137.56   0.00
HENRICO DOCTORS HOSPITAL                Unsecured                       50.00      150.00     150.00      15.27   0.00
MCV HOSPITALS                           Unsecured                      365.00      437.00     437.00      44.49   0.00
KIMBERLY A. CHANDLER, ESQ.              Attorney                      5223.00     5223.00    5213.00    5213.00   0.00
COMCAST                                 UNSECURED                     2000.00        0.00       0.00       0.00   0.00
DIVERSIFIED CONSULTANTS                 UNSECURED                      218.00        0.00       0.00       0.00   0.00
FIRST PREMIER BANK                      UNSECURED                      877.00        0.00       0.00       0.00   0.00
VERIZON WIRELESS                        UNSECURED                     1983.00        0.00       0.00       0.00   0.00




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Summary of Disbursements to Creditors:

                                         Claim         Principal       Interest
                                         Allowed       Paid            Paid
Secured Payments:
      Mortgage Ongoing                   $      0.00 $         0.00 $             0.00
      Mortgage Arrearage                 $      0.00 $         0.00 $             0.00
      Debt Secured by Vehicle            $ 14,804.28 $       720.00 $             0.00
      All Other Secured                  $      0.00 $         0.00 $             0.00
TOTAL SECURED:                           $ 14,804.28 $       720.00 $             0.00

Priority Unsecured Payments:
       Domestic Support Arrearage        $         0.00 $          0.00 $         0.00
       Domestic Support Ongoing          $         0.00 $          0.00 $         0.00
       All Other Priority                $         0.00 $          0.00 $         0.00
TOTAL PRIORITY:                          $         0.00 $          0.00 $         0.00

GENERAL UNSECURED PAYMENTS: $ 17,509.69 $                   1,782.74 $            0.00




Disbursements:

      Expenses of Administration         $    5,837.26
      Disbursements to Creditors         $    2,502.74

TOTAL DISBURSEMENTS:                                                   $     8,340.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate
has been fully administered, the foregoing summary is true and complete, and all administrative matters
for which the trustee is responsible have been completed. The trustee requests a final decree be entered
that discharges the trustee and grants such other relief as may be just and proper.




Date: 07/20/2021                     By: /s/Suzanne E. Wade
                                       Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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